Case 2:10-cr-00081-LRS   ECF No. 185   filed 04/19/12   PageID.594 Page 1 of 6
Case 2:10-cr-00081-LRS   ECF No. 185   filed 04/19/12   PageID.595 Page 2 of 6
Case 2:10-cr-00081-LRS   ECF No. 185   filed 04/19/12   PageID.596 Page 3 of 6
Case 2:10-cr-00081-LRS   ECF No. 185   filed 04/19/12   PageID.597 Page 4 of 6
Case 2:10-cr-00081-LRS   ECF No. 185   filed 04/19/12   PageID.598 Page 5 of 6
Case 2:10-cr-00081-LRS   ECF No. 185   filed 04/19/12   PageID.599 Page 6 of 6
